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                       IN THE UNITED STATES DISTR, ICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 ADRIENNE HOOD,
                                                            Case No. 2:17-cv-471
                       Plaintiffs,                          Judge Edmund A. Sargus, Jr.
 v.

 CITY OF COLUMBUS, et al.,

                       Defendants.

                                     TELEPHONE NOTICE


         TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
 set forth below:

 Place: United States District Court
        Joseph P. Kinneary U.S. Courthouse
        85 Marconi Boulevard                                April 14, 2022 at 10:00 a.m.
        Columbus, Ohio 43215

 TYPE OF PROCEEDING: Telephone Status Conference

        TAKE NOTICE that a Telephone Status Conference will be held before the Honorable

 Edmund A. Sargus, Jr. on April 14, 2022 at 10:00 a.m. The parties are directed to call 888-684-

 8852 and enter the access code 9586353# and the conference security code 0471.




                                             EDMUND A. SARGUS, JR.
                                             UNITED STATES DISTRICT JUDGE
 DATE: April 12, 2022

                                                /s / Christin M. Werner
                                             (By) Christin M. Werner, Deputy Clerk
